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                                            1   ZACHAR LAW FIRM, P.C.
                                            2   P.O. Box 47640
                                                Phoenix, Arizona 85020
                                            3
                                                (602) 494-4800
                                            4   Ben R. Jemsek (019833)
                                            5   bjemsek@zacharlaw.com
                                                Attorney for Plaintiff
                                            6
                                            7                      IN THE UNITED STATES DISTRICT COURT
                                            8
                                                                          FOR THE DISTRICT OF ARIZONA
                                            9
                                           10   Houston Specialty Insurance Company,               No. 2:23-cv-01187-JZB
                                           11                                                      DEFENDANT LEAH REKOWSKI’S
                                                                              Plaintiff,
                                           12                                                      ANSWER TO PLAINTIFF’S
                                           13   vs.                                                AMENDED COMPLAINT IN
                                                                                                   INTERPLEADER
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                                           14   Leah Rekowski, et. al.,
                  Phoenix, Arizona 85020




                                           15
                      P.O. Box 47640




                                                                             Defendant.
                                           16
                                           17          Defendant Leah Rekowski submits her Answer to the Amended Complaint for
                                           18
                                                Interpleader [Doc 5].
                                           19
                                           20                                  ADMISSIONS/DENIALS
                                           21
                                                      For her answer to the individually numbered paragraphs of the Amended
                                           22
                                           23   Complaint for Interpleader, Leah states the following:
                                           24
                                                                                           PARTIES
                                           25
                                                      1.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                           26
                                                and therefore denies same.
                                           27
                                                      2.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                           28
                                                and therefore denies same.




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                                            1          3.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                            2
                                                and therefore denies same.
                                            3
                                            4          4.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                            5
                                                and therefore denies same.
                                            6
                                            7          5.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                            8   and therefore denies same.
                                            9
                                           10          6.     Leah is without sufficient knowledge as to the allegations in this paragraph

                                           11   and therefore denies same.
                                           12
                                                       7.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                           13
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                                           14   and therefore denies same.
                  Phoenix, Arizona 85020




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                                                       8.     Leah admits that she is a resident of Lee County Georgia. She denies the
                                           16
                                           17   remaining allegation and affirmatively asserts that she is not the biological mother of K.R.
                                           18
                                                and C.R.
                                           19
                                           20          9.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                           21   and therefore denies same.
                                           22
                                           23          10.    Leah is without sufficient knowledge as to the allegations in this paragraph

                                           24   and therefore denies same.
                                           25          11.    Leah is without sufficient knowledge as to the allegations in this paragraph
                                           26
                                                and therefore denies same.
                                           27
                                                       12.    Leah is without sufficient knowledge as to the allegations in this paragraph
                                           28
                                                and therefore denies same.




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                                            1           13.   This paragraph does not state contain any allegations and does not require a
                                            2
                                                response.
                                            3
                                            4           14.   Admit.
                                            5
                                                        15.   Admit.
                                            6
                                            7           16.   This paragraph does not state contain any allegations and does not require a
                                            8   response.
                                            9
                                           10           17.   Leah is without sufficient knowledge as to the allegations in this paragraph

                                           11   and therefore denies same.
                                           12
                                                        18.   Admit. Leah affirmatively asserts that she is without knowledge as to
                                           13
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                                           14   whether Cosmos Express, Inc. has any other applicable insurance policies.
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                                                        19.   While Leah is without sufficient knowledge as to the allegations in this
                                           16
                                           17   paragraph, she has not evidence that contradicts this assertion and admits same.
                                           18
                                                        20.   Leah admits that that Mr. Campo was traveling eastbound on the I-10
                                           19
                                           20   freeway, crossed the median and struck a vehicle being driven by Leah Rekowski. She
                                           21   also admits that it led to her personal injuries, the death of her spouse and property damage.
                                           22
                                           23   She is without sufficient knowledge as to the remaining allegations and therefore denies

                                           24   same.
                                           25           21.   Leah is without sufficient knowledge as to the allegations in this paragraph
                                           26
                                                and therefore denies same
                                           27

                                           28




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                                            1          22.     Leah admits that she sustained personal injuries as a result of this accident.
                                            2
                                                Leah is without sufficient knowledge to answer for the remaining parties and therefore
                                            3
                                            4   denies same.
                                            5
                                                       23.     Admit.
                                            6
                                            7          24.     Leah admits that she filed on behalf of herself and K.R. and C.R., but denies
                                            8   that they are her children. Leah admits the remaining allegations.
                                            9
                                           10          25.     Leah is without sufficient knowledge as to the allegations in this paragraph

                                           11   and therefore denies same.
                                           12
                                                       26.     Leah admits that the Notice of Claim contained a sum certain amount to
                                           13
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                                           14   settle all claims for $17.5 million. Leah denies the remaining allegations.
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                                                       27.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                           16
                                           17   and therefore denies same.
                                           18
                                                       28.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                           19
                                           20   and sub-parts and therefore denies same.
                                           21          29.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                           22
                                           23   and sub-parts and therefore denies same.

                                           24          30.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                           25   and therefore denies same.
                                           26
                                                       31.     Leah is without sufficient knowledge as to the allegations in this paragraph
                                           27
                                                and therefore denies same.
                                           28




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                                            1         32.    Leah admits that counsel for multiple entities sent a letter dated January 27,
                                            2
                                                2023, re: the resolution of claims concerning a policy held by Cosmos Express. Leah
                                            3
                                            4   denies any remaining allegations.
                                            5
                                                      33.    Leah is without sufficient knowledge as to the allegations in this paragraph
                                            6
                                            7   and therefore denies same.
                                            8         34.    Leah is without sufficient knowledge as to the allegations in this paragraph
                                            9
                                           10   and therefore denies same.

                                           11         35.    Leah is without sufficient knowledge as to the allegations in this paragraph
                                           12
                                                and therefore denies same.
                                           13
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                                           14         36.    Leah is without sufficient knowledge as to the allegations in this paragraph
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                                                and therefore denies same.
                                           16
                                           17         37.    Leah is without sufficient knowledge as to the allegations in this paragraph
                                           18
                                                and therefore denies same.
                                           19
                                           20         38.    Leah is without sufficient knowledge as to the allegations in this paragraph
                                           21   and therefore denies same.
                                           22
                                           23         39.    Leah is without sufficient knowledge as to the allegations in this paragraph

                                           24   and therefore denies same.
                                           25         40.    Leah is without sufficient knowledge as to the allegations in this paragraph
                                           26
                                                and therefore denies same.
                                           27
                                                      41.    Leah is without sufficient knowledge as to the allegations in this paragraph
                                           28
                                                and therefore denies same.




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                                            1          42.    Leah is without sufficient knowledge as to the allegations in this paragraph
                                            2
                                                and therefore denies same.
                                            3
                                            4   WHEREFORE, Leah prays as follows:
                                            5
                                                       A.     That Leah Rekowski be awarded the following for damages she suffered as
                                            6
                                            7   a result of her injuries, including but not limited to the following: (1) Her medical bills,
                                            8   past, present and future; (2) past and future lost income; (3) pain, suffering and loss of
                                            9
                                           10   enjoyment of life; and (4) All other economic and pecuniary damages due to her injuries.

                                           11          B.     That Leah Rekowski be awarded the following damages she suffered as
                                           12
                                                spouse and wrongful death beneficiary of William Rekowski who was killed in the
                                           13
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                                           14   accident, which includes but is not limited to the following: (1) Loss of love,
                  Phoenix, Arizona 85020




                                           15
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                                                companionship, affection, and for the sorrow, shock and grief based on the death of her
                                           16
                                           17   husband; (2) loss of income earned by William Rekowski; and (3) All damages referenced
                                           18
                                                by A.R.S. § 12-611 et seq;
                                           19
                                           20          C.     Costs incurred in accordance with A.R.S. § 12-1840; and
                                           21          D.     For any other relief that this Court may deem just and proper.
                                           22
                                           23          DATED this 18th day of September, 2023.

                                           24                                             ZACHAR LAW FIRM, P.C.
                                           25                                             /s/ Ben R. Jemsek
                                                                                          Ben R. Jemsek
                                           26
                                                                                          Attorney for Plaintiff
                                           27

                                           28




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                                            1                               CERTIFICATE OF SERVICE
                                            2
                                                      I hereby certify that on this 18th of September, 2023, I electronically transmitted
                                            3
                                            4   the attached document to the Clerk’s Office using the CM/ECF System for filing and
                                            5
                                                transmittal of a Notice of Electronic Filing to the following parties/counsel of record:
                                            6
                                            7
                                            8   Gena L. Sluga
                                            9   Amanda J. Taylor
                                           10   Justin R. Vanderveer
                                                Christian Dichter & Sluga, P.C.
                                           11   2800 N. Central Ave., Ste. 860
                                           12   Phoenix, AZ 85004
                                                Attorneys for Plaintiff
                                           13
ZACHAR LAW FIRM, P.C.




                                           14   /s/ Jena Smanz
                  Phoenix, Arizona 85020




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                      P.O. Box 47640




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